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 4   Telephone: (916) 554-2725
 5
 6                  IN THE UNITED STATES DISTRICT COURT
 7                FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       )       CR. No. S-11-295 MCE
                                     )
10                   Plaintiff,      )
                                     )       MOTION TO DISMISS
11                v.                 )       INDICTMENT AS TO DEFENDANT
                                     )       PAVEL BEREZENKO
12   PAVEL BEREZENKO,                )
                                     )
13                                   )
                     Defendant.      )
14   ________________________________)
15        Based on further investigation in the case and pursuant to
16   Rule 48 of the Federal Rules of Criminal Procedure, the
17   government moves this Honorable Court for an order dismissing the
18   indictment against this defendant only.
19   DATE: March 27, 2013                   BENJAMIN B. WAGNER
                                            United States Attorney
20
21                                     By: /s/ Daniel S. McConkie
                                           DANIEL S. McCONKIE
22                                         Assistant U.S. Attorney
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )          CR. No. S-11-295 MCE
                                     )
12                   Plaintiff,      )
                                     )          ORDER DISMISSING
13                v.                 )          INDICTMENT AS TO DEFENDANT
                                     )          PAVEL BEREZENKO
14   PAVEL BEREZENKO,                )
                                     )
15                                   )
                     Defendant.      )
16   ________________________________)
17        For good cause shown, it is hereby ORDERED dismissing all
18   charges in the indictment as to this defendant.
19        IT IS SO ORDERED.
20 Date: March 29, 2013
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22                                 _____________________________________________
                                   MORRISON C. ENGLAND, JR., CHIEF JUDGE
23
                                   UNITED STATES DISTRICT JUDGE
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